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                                 UNITED STATES DISTRICT COURT

                                        DISTRICT OF OREGON

                                         PORTLAND DIVISION

      HANNAH AHERN,                                        Case No.: 3:21-cv-00561-YY

                     PLAINTIFF,
                                                           DECLARATION OF KELSEY LLOYD
              V.
                                                           (In Support of Defendant City of Portland's
      ERIK KAMMERER, CITY OF                               Reply in support of Motion for Partial
      PORTLAND; and JOHN DOES 1-5,                         Summary Judgment)

                     DEFENDANTS.


             I, Kelsey Lloyd, declare as follows:

              1.     I am the Deputy Director of the City of Portland's Independent Police Review

      ("IPR") Division. I have held this position since July 2022. I was the Investigations Coordinator

      for IPR from January 2020 to July 2022. I started my employment with IPR and the City of

      Portland in April 2012.

             2.      On May 5, 2022, IPR opened a complaint based on a tort claim notice by Megan

      Opbroek about the conduct of an unidentified member of the Portland Police Bureau ("PPB").

      IPR conducted a formal administrative investigation of Ms. Opbroek's complaint. The

      completed investigation was reviewed by PPB's Internal Affairs unit. The IPR investigation was

      reviewed by an Assistant Chief of Police, the Captain of PPB' s Professional Standards Division
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    and me to determine whether the evidence proved misconduct. The allegation of misconduct

    related to whether an unidentified officer had improperly deployed a Rubber Ball Distraction

    Device ("RBDD"). The investigation found that the RBDD was likely deployed correctly, but

    had been inadvertently kicked or divetted after it was deployed. As a result, the Assistant Chief,

    the Captain of PPB's Professional Standards Division and I all agreed on a finding of exonerated

    on the misconduct allegation. A finding of exonerated means that the evidence demonstrated

    that the officer's conduct was within PPB policy.

           3.      Attached to this declaration as Exhibit 25 is a true and correct copy of the

    Confidential Investigative Report, dated June 5, 2020, for IPR Case No. 2020-C-0044, for

    complainant Hannah Ahern. The investigative report is stamped AHERN_CITY_002385-2397.

    I understand that because Exhibit 25 was provided confidentially to Ms. Ahern's attorneys,

    Exhibit 25 will be submitted under seal with a declaration from Senior Deputy City Attorney

    William W. Manlove.

           4.      Exhibit 25 to my declaration is kept in the course of IPR and the City's regularly

    conducted business or organizational activities.

           5.      I make this declaration in support of in support of Defendant City of Pottland' s

    Reply in support of Motion for Partial Summary Judgment.

           I hereby declare that the above statement is true to the best of my knowledge and
    belief, and that I understand it is made for use as evidence in court and is subject to penalty

    for perjury.

           DATED:      7/ Zo / Z-v(
                                                   KELSEY LLOYD




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